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 1 JAMES R. GREINER, ESQ.
   CALIFORNIA STATE BAR NUMBER 123357
 2 LAW OFFICES OF JAMES R. GREINER
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 3 SACRAMENTO, CALIFORNIA 95825
   TELEPHONE: (916) 649-2006
 4 FAX: (916) 920-7951
 5   ATTORNEY FOR DEFENDANT
     DOMONIC McCARNS
 6
 7                IN THE UNITED STATES DISTRICT COURT FOR THE
 8                      EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,      )               NO. CR. S-08-00116 FCD
10                                  )
          PLAINTIFF,                )               STIPULATION AND ORDER
11                                  )               TO CONTINUE THE STATUS
          v.                        )               CONFERENCE TO MONDAY
12                                  )               OCTOBER 5, 2009
     CHARLES HEAD, et al.,          )
13                                  )
                                    )
14        DEFENDANTS.               )
     ______________________________ )
15
16         The parties to this litigation, the Unites States of America, represented by
17   Assistant United States Attorneys Ms. Ellen Endrizzi and Mr. Matthew C. Stegman
18   and the defendants (hereinafter referred to as the defendants): 1)Charles Head,
19   represented by attorney Mr. Scott Tedmon; 2) defendant Keith Brotemarkle
20   represented by attorney Robert G. Gazley; 3) defendant Benjamin Budoff represented
21   by attorney Dwight M. Samuel; 4)defendant John Corcoran, represented by attorney,
22   Mr. Matthew Bockmon; 5)defendant Lisa Vang represented by attorney Timothy E.
23   Warriner; 6)defendant Kou Yang, represented by attorney, Mr. Joseph Low, IV; and
24   7)defendant Domonic McCarns, represented by attorney, Mr. James R. Greiner,
25   hereby agree and stipulate that the current date for the status conference, Monday,
26   June 15, 2009, is hereby vacated and can be rescheduled for Monday, October 5,
27   2009, at 10:00 a.m. in Courtroom #2 before the Honorable District Court Judge, Frank
28                                              1
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 1   C. Damrell, Jr..
 2          Further, all of the parties, the United States of America and all of the defendants
 3   as stated above, hereby agree and stipulate that time under the speedy trial Act can be
 4   excluded under Title 18 section 3161(h)(8)(b)(ii) and section 3161(h)(B)(B)(iv),
 5   corresponding to Local code T-2 (the complexity of the case) and Local Code T-4 (to
 6   allow counsel time to prepare).
 7          The government has provided in excess of 190,000 pages of discovery in this
 8   case (the government just recently produced approximately 173,000 pages of
 9   discovery). There is still additional discovery to be produced by the government. The
10   parties agree that the defense needs time to review the discovery, to review the
11   discovery with the defendants, and to continue investigation in the case. The parties
12   agree and stipulate that the interests of justice in agreeing and stipulating to this
13   continuance outweighs other interests in this case for a speedy trial in this case.
14          The Court’s Courtroom deputy, Ms. Michele Krueger, was contacted to ensure
15   the Court was available on this date and the Court is available. There is no trial date
16   set.
17          Respectfully submitted:
18                                     LAWRENCE G. BROWN
                                       ACTING UNITED STATES ATTORNEY
19
                                       /s/ Ellen Endrizzi, by telephone authorization
20
     DATED: 6-10-09                    _____________________________________
21                                     Ellen Endrizi and Matthew C. Stegman
                                       ASSISTANT UNITED STATES ATTORNEYS
22                                     ATTORNEYS FOR THE PLAINTIFF
23
     DATED: 6-10-09
24                                     /s/ Scott Tedmon by e mail authorization
                                       ______________________________________
25                                     Scott Tedmon
                                       Attorney for Defendant Charles Head
26
     DATED: 6-10-09                    /s/ Robert G. Gazley by e mail authorization
27                                     _______________________________________
28                                                2
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 1                               Robert G. Gazley
                                 Attorney for Defendant Keith Brotemarkle
 2
     DATED: 6-10-09              /s/ Dwight M. Samuel by e mail authorization
 3                               _____________________________________
                                 Dwight M. Samuel
 4                               Attorney for Defendant Benjamin Budoff
 5   DATED: 6-10-09              /s/ Matthew Bockmon by e mail authorization
                                 ______________________________________
 6                               Matthew Bockmon
                                 Attorney for Defendant John Corcoran
 7
     DATED: 6-10-09              /s/ Timothy E. Warriner by e mail authorization
 8                               ____________________________________
                                 Timothy E. Warriner
 9                               Attorney for Defendant Lisa Vang
10   DATED: 6-10-09              /s/ Joseph Low, IV by e mail authorization
                                 ______________________________________
11                               Joseph Low, IV
                                 Attorney for Defendant Kou Yang
12
     DATED: 6-10-09              /s/ James R. Greiner
13                               ___________________________________
                                 James R. Greiner
14                               Attorney for Defendant Dominic McCarns
15
16
                                       ORDER
17
18
19
          FOR GOOD CAUSE SHOW, IT IS SO ORDERED.
20
21
22   DATED: June 10, 2009
23
                                 ___________________________________
24                               FRANK C. DAMRELL, JR.
                                 UNITED STATES DISTRICT JUDGE
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27
28                                         3
